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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTICT OF FLORIDA


  STEPHEN DETATA

         Plaintiff,
                                                       Case No.:
  -v-

  VERIZON WIRELESS PERSONAL
  COMMUNICATIONS, LP,

         Defendant.


                                           COMPLAINT

         COMES NOW, Plaintiff, Stephen DeTata (hereinafter “Plaintiff”), and sues Defendants,

  VERIZON WIRELESS PERSONAL COMMUNICATION, LP, (hereinafter Verizon) and in

  support thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47

  USC § 227, et seq (hereinafter “TCPA”)and the Florida Consumer Protection Practices Act, Fla.

  Stat. § 559.55 et seq (hereinafter “FCCPA”) and alleges:



                                  PRELIMINARY STATEMENT

         This is an action for actual damages, punitive damages, statutory damages and injunctive

  relief brought by Plaintiff against Defendant for violations of the Telephone Consumer

  Protection Act (hereinafter “TCPA”) 47 U.S.C. § 227(b) (1) (A) (iii) and the Florida Consumer

  Collection Practices Act (hereinafter the “FCCPA”), FLA. STAT. §559.72 (7), §559.72 (9); and

  for declaratory judgment and injunctive relief in equity.




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         Upon belief and information, Plaintiff contends that many of these practices are

  widespread for the Defendant. Plaintiff intends to propound discovery to Defendant identifying

  other individuals who have suffered similar violations.

         Plaintiff contends that the Defendant has violated such laws by repeatedly harassing

  Plaintiff in attempts to collect an alleged debt.

         The FCCPA prevent debt collectors and persons, respectively, from engaging in abusive,

  deceptive, and unfair collection practices.

         The TCPA was enacted to prevent companies like Verizon from invading American

  citizen’s privacy and prevent abusive “robo calls”. “The TCPA is designed to protect individual

  consumers from receiving intrusive and unwanted telephone calls” Mims v Arrow Fin. Srvs.,

  LLC, US 132 S.Ct 740, 745, 181 L.Ed. 2d 881 (2012). The TCPA prohibits any person “to make

  any call (other than for emergency purposes or made with the prior consent of the called party)

  using any automatic telephone dialing system or any artificial or prerecorded voice – (iii) to any

  telephone number assigned to a paging service, cellular telephone service, specialized mobile

  radio service, or other radio common carrier service, or any service for which the called party is

  charged for the call.” 47 U.S.C. §227(b)(1)(A). The TCPA sponsor , Senator Hollings, described

  these calls as “the scourge of modern civilization, they wake us up in the morning; they interrupt

  our dinner at night; they force the sick and elderly out of bed; they hound us until we want to rip

  the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). According to the Federal

  Communications Commission (FCC), “Unwanted calls and texts are the number one complaint

  to the FCC. There are thousands of complaints to the FCC every month on both telemarketing

  and robo calls. The FCC received more than 215,000 TCPA complaints in 2014.” Fact Sheet:

  Wheeler Proposal to Protect and Empower Consumers Against Unwanted Robo Calls, Texts to



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  Wireless Phones, Federal Communications Commission, (May 27, 2015),

  http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-333676A1.pdf



                                 JURISDICATION AND VENUE

  1.     This is an action for damages which exceed $45,000.00.

  2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3), as this

  case presents a Federal question. Supplemental jurisdiction exists for pendant state law claims

  pursuant to 28 U.S.C. § 1367(a), 15 U.S.C. §1681p, 15 U.S.C. §1692k and by Fla. Stat. §559.77.

  Federal courts have jurisdiction over private suits arising under the TCPA. Mims v. Arrow

  Financial Services, LLC, 132 S. Ct. 740 (2012).

  3.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2). Venue in this District is proper in

  that the Plaintiff resides here, the Defendants transact business here, and the conduct complained

  of occurred here.

  4.     The alleged violations described in the Complaint occurred in Broward County, Florida.

                                              PARTIES

  5.     At all times relevant to this Complaint, Plaintiff, Stephen DeTata, (hereinafter “Plaintiff”)

  is a natural person as defined by 47 U.S.C. § 153(32) over the age of eighteen and is a resident of

  Broward County in the State of Florida.

  6.     Plaintiff is the regular user and carrier of the cellular telephone number at issue, (954)

  445-4737, and was the called party and recipient of Defendant’s hereafter described calls.

  7.     Plaintiff is a debtor and/or an alleged debtor as defined by section 559.55(2), Florida

  Statutes.

  8.     Plaintiff is a “consumer” as that term is defined in Florida Statues § 559.55(8)



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  9.     Plaintiff as the sole owner, possessor, subscriber, and user of the cellular phone number

  (954) 445-4737 is the “called party” with respect to the calls placed to his cellular phone, as

  further described herein. See Soppet v. Enhanced Recovery Co., LC, 679 F.d 637, 643 (7th Cir.

  2012), reh'g denied (May 25, 2012).

  10.    Upon information and belief Defendant, Verizon was and is a foreign corporation, with

  its principle place of business located at 1 Verizon Way, Basking Ridge, NJ 07920 and which

  conducts business in the State of Florida through its registered agent, CT Corporation Systems,

  1200 South Pine Island Road, Plantation, Florida, and is authorized to do business in the State of

  Florida.

                                      GENERAL ALLEGATIONS

 11.     At all times relevant to this Complaint, Defendant was and is a “person” as said term

 is defined under Florida Statute §1.01(3), and is subject to the provisions of Fla. Stat. § 559.72

 because said section applies to “any person” who collects or attempts to collect a consumer

 debt as defined in Fla. Stat. § 559.55(1).

  12.    The debt that is the subject matter of this complaint is a “consumer debt” as defined by

  Florida Statute § 559.55(6)

  13.    At all times herein, Defendant’s conduct, with regard to the Debt complained of below,

  qualifies as a “communication” as defined by Florida Statutes, Section 559.55 and 15 U.S.C.

  Section 1692a(2).

  14.        At all times herein, Defendant attempted to collect an alleged debt from Plaintiff through

  a campaign of automated telephonic “robocalls” originating from an “automatic telephone

  dialing system” as defined by the TCPA. 47 U.S.C. § 227(a)(1) and 47 C.F.R. 64.1200(f)(2).




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  15.     Verizon intentionally harassed and abused Plaintiff on numerous occasions by calling

  multiple times per day and on back to back days with such frequency as can be reasonably

  expected to harass.

  16.    Upon answering any of these calls, Plaintiff would be greeted by an automated, machine-

  operated voice message or a noticeable period of “dead air” while the caller’s telephone system

  attempted to connect the Plaintiff to a live telephone employee.

  17.    Each call Verizon made to Plaintiff was made using an “automatic telephone dialing

  system” which has the capacity to store or produce telephone numbers to be called using a

  random or sequential number generator; and to dial such numbers as specified by 47 U.S.C. §

  227(a)(1)

  18.    Each call Verizon made to Plaintiff’s aforementioned cellular phone number was done so

  without the “express permission” of Plaintiff and were not for “emergency purposes” as

  specified in 47 U.S.C. §227(b)(1)(A).27.

  19.    At all times herein, Defendants acted themselves or through their agents, employees,

  third-party vendors, officers, members, directors, successors, assigns, principals, trustees,

  sureties, subrogees, representatives, and insurers.

  20.    Each call the Defendant made to the Plaintiff was an intentional and willful violation of

  the TCPA.

  21.    Upon information and belief, Defendant knew their collection techniques were in

  violation of the TCPA, yet still continued to use them therefore willfully or knowingly violated

  the TCPA.




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  22.    Verizon called Plaintiff’s cellular phone number approximately 35 (THIRTY-FIVE)

  times, or more, using an automated dialing system, initiating “robo-calls”, starting the first week

  of June 2015, in an attempt to collect a debt.

  23.    All conditions precedent to the bringing of this action have been performed, waived or

  excused.

                                    FACTUAL ALLEGATIONS

  24.    On or around the first week in June of 2015, Plaintiff started receiving automated calls

  from Verizon in an attempt to collect a debt stemming from an account Plaintiff had with

  Verizon for wireless services.

  25.     On or about the second week of June 2015 Plaintiff spoke with a representative named

  Jamie from Verizon in order to cancel the account. Plaintiff asked Verizon representative Jamie

  to cease and desist all further calls to his cellular phone number and to forward a paper statement

  reflecting the balance owed. Plaintiff gave Representative Jamie his current mailing address. Yet

  the calls continued coming.

  26.     Throughout the month of June 2015, Plaintiff continued to get multiple automated calls

  per day from Verizon. Plaintiff never received a paper statement reflecting balances owed that he

  requested from Defendant. Plaintiff again responded to one of the calls and spoke to a

  representative from Verizon named Paul. Plaintiff explained to Paul that he already requested

  there be no more calls made to this number with regards to the collection of the alleged debt

  owed to Verizon. Plaintiff also explained that he no longer wanted the service and requested

  again to cancel the account.

  27.     Plaintiff continued to receive automated calls from Verizon, a number of them stating

  that he should “remain on the line to discuss your payment options to avoid wireless service



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  interruption.” On July 17th 2015 Plaintiff spoke with a representative from Verizon as the

  automated calls were becoming overwhelming, and the calls came multiple times in a single day

  on back to back days. A representative named Beth came on the line and advised Plaintiff that

  the outstanding balance was $125.00. Plaintiff asked why the amount was so high since the

  monthly charge was only $35.00 and Plaintiff allegedly only owed for one month.

  Representative Beth told Plaintiff that he owed for June and July and was being charged a $50.00

  reconnect fee. Plaintiff then informed Defendant representative Beth that he was disputing the

  debt and no longer wanted the service, and in fact already told several Verizon representatives

  that he was canceling the service as of last month. Once again Plaintiff asked that all phone calls

  to his cellular number cease immediately.

  28.    Despite Plaintiff’s clear and repeated requests to stop calling, Verizon continued to

  assault Plaintiff’s cellular phone with automated calls, up to four (4) calls a day.

  Plaintiff intends to procure a detailed phone log through a court order.

  29.    Verizon has a corporate policy to use an automatic telephone dialing system or a pre-

  recorded or artificial voice to individuals, just as it did to Plaintiff’s cellular telephone number

  (954) 445-4737 in the instant case.

  30.    Verizon’s corporate policy is structured so as to continue to call individuals, such as the

  Plaintiff, and ignore all requests from the individual to cease and desist the telephonic

  communication.

  31.    Verizon has numerous complaints against them from consumers across the country. As in

  the instant case, Verizon flouts the law and completely ignores consumer’s request to stop the

  automated phone calls.

  32.    Verizon has a corporate policy to harass and abuse individuals despite actual knowledge



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  the called parties do not owe or are disputing the actual debt amount.

  33.     Plaintiff did not expressly consent to Verizon’s placement of telephone calls to

  Plaintiff’s cellular telephone number (954) 445-4737 by the use of an automated telephone

  dialing system or a pre-recorded or artificial voice prior to Verizon’s placement of calls.

  34.     Not a single call placed by Verizon to Plaintiff’s aforementioned cellular phone number

  were placed for “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

  35.     Verizon willfully and/or knowingly violated the TCPA with respect to the calls it placed

  to Plaintiff in the instant case.

                                       COUNT I
                             VIOLATION OF THE TELEPHONE
                         CONSUMER PROTECTION ACT 47 U.S.C. § 227

  36.     Paragraphs one (1) through thirty-five (35) are re-alleged as though fully set forth herein.

  37.     The calls referred to in ¶ 20 of the instant complaint are indicative of an “automatic

  telephone dialing system” as defined by 47 U.S.C. § 227 (a) (1).

  38.     Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff by

  repeatedly placing calls to Plaintiff’s cellular telephone number using an automated telephone

  dialing system and/or prerecorded or artificial voice message without Plaintiff’s prior express

  consent, invitation or permission, as specifically prohibited by the TCPA and its Rules and

  Regulations, 47 U.S.C. §227(b)(1)(A)(iii) and 47 U.S.C. § 64.1200(a)(1). The calls are subject to

  treble damages pursuant to 47 U.S.C. §227(b)(3) as they were intentional.

  39.     Calls placed by Defendant to Plaintiff’s aforementioned cellular telephone number were

  made without the “prior express consent” or “prior express invitation or permission” of Plaintiff,

  as specified by the TCPA and its Rules and Regulations, 47 U.S.C. § 227(b)(1)(A) and 47 U.S.C.

  § 64.1200(a)(1), and defined by 47 U.S.C. § 64.1200(f)(15).


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  40.       Defendant has willfully and/or knowingly committed at least 35 violations of 47 U.S.C.

  §227(b)(1)(A) and Plaintiff is entitled to damages of $1,500 per violation pursuant to 47 U.S.C.

  §227(b)(3)(C).

  41.       The TCPA provides Plaintiff with a Private Right of Action against Defendant for its

  violations of the TCPA, as described herein, pursuant to 47U.S.C.A. § 227(b)(3), and permits

  both injunctive relief in addition to statutory damages and treble statutory damages if the court

  finds the Defendant willfully or knowingly violated the regulations prescribed in the TCPA.

            WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  requests this Court enter a judgment against Defendant VERIZON WIRELESS PERSONAL

  COMMUNICATION, LP, for actual damages, statutory damages, punitive damages, attorney's

  fees and costs such other equitable relief this Court deems just and proper pursuant to 47 U.S.C.

  §227(b)(3)(C).

                                     COUNT II
                  VIOLATION OF FLORIDA CONSUMER COLLECTION
               PRACTICES ACT (FCCPA), FLA. STAT. §559.72(7) AND §559.72(9)

  42.       Paragraphs one (1) through thirty-five (35) are re-alleged as though fully set forth herein.

  43.       At all times relevant to this action Verizon is subject to and must abide by the laws of the

  State of Florida, including Florida Statutes § 559.72.

  44.       Verizon has violated the Florida Statute § 559.72(7) by willfully communicating with the

  debtor or any member of his or her family with such frequency as can reasonably be expected to

  harass the debtor or his or her family.

  45.       Verizon has violated Florida Statute § 559.72(7) by willfully engaging in other conduct

  which can reasonably be expected to abuse or harass the debtor or any member of his or her

  family.



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  46.    Verizon has violated Florida Statutes § 559.72(9), by claiming, attempting or threatening

  to enforce a debt when such person knows the debt is not legitimate or asserting the existence of

  the right with knowledge that the right does not exist.

  47.    Specifically, even after Plaintiff spoke with multiple employees of Defendant on multiple

  occasions explaining the alleged debt was incorrect, the Defendant continued with their

  harassing automated phone calls in an attempt to collect an incorrect amount on an alleged debt.

  Plaintiff asked Defendant on multiple occasions to provide the basis of the alleged debt yet was

  ignored and harassed with automated phone calls spanning the course of several months.

  48.    Verizon’s actions of calling Plaintiff continuously and regularly day after day, multiple

  times a day, reasonably can be expected to have the natural consequences of harassing Plaintiff

  which was the intent of Defendant in order to illicit payment from Plaintiff for the alleged debt.

  49.    Verizon’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute § 559.77.

  50.    Defendant, through its agents, representatives and/or employees acting within the scope

  of their authority knowingly violated Florida Statutes §559.72(7).

  51.    Florida Statutes, Section 559.77 provides for the award of up to $1,000.00 statutory

  damages per independent violation plus actual damages, punitive damages, and an award of

  attorneys’ fees, and costs to Plaintiff should Plaintiff prevail in this matter against Defendants.



         WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  requests this Court enter a judgment against Defendant VERIZON WIRELESS PERSONAL

  COMMUNICATION, LP, for actual damages, statutory damages, punitive damages, attorney's




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  fees and costs such other equitable relief this Court deems just and proper pursuant to Florida

  Statutes §559.77 (2).

                                                       /s/ Stephen DeTata_______________
                                                       Stephen DeTata, Fla. Bar No.:176291
                                                       DETATA LAW GROUP, P.A.
                                                       P.O. Box 292711
                                                       Davie, Florida 33329
                                                       (954) 445-4737
                                                        steve.detata@aol.com
                                                       Attorney for Plaintiff




                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing has been delivered
  this _____ day of ___________________ 2016 by U.S. Mail delivery to:


  CT Corporation Systems
  1200 South Pine Island Road
  Suite 250
  Plantation, Florida 33324

                                                   /s/ Stephen DeTata________
                                                   Stephen DeTata,
                                                   Fl Bar No.:176291
                                                   For the Firm
                                                   DETATA LAW GROUP, P.A.
                                                   P.O. Box 292711
                                                   Davie, Florida 33329
                                                   (954) 445-4737
                                                   steve.detata@aol.com




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                               UNITED STATES DISTRICT COURT
                                         FOR THE
                               SOUTHERN DISTRICT OF FLORIDA
  STEPHEN DETATA

         Plaintiff,
                                                             Civil Action No.
         V.

  VERIZON WIRELESS PERSONAL
  COMMUNICATIONS, LP.

        Defendant.
  _________________________/

                                 SUMMONS IN A CIVIL ACTION

  VERIZON WIRELESS PERSONAL
  COMMUNICATIONS, LP.                       By Serving Registered Agent:

  CT Corporation Systems
  1200 South Pine Island Road
  Suite 250
  Plantation, FL. 33324

                         A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received
  it) - or 60 days if you are the United States or a United States agency, or an officer or employee
  of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff
  an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil
  Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney, whose
  name and address are:

                         Stephen DeTata, Esq.
                         P.O. Box 292711
                         Davie, FL. 33329

  If you fail to respond, judgment by default will be entered against you for the relief demanded in
  the complaint. You also must file your answer or motion with the court.


  Date: ________________ 2016                                    By:___________________________
                                                                   Deputy Clerk
